        Case 2:02-cr-00468-MCE-CMK Document 554 Filed 06/26/06 Page 1 of 2


 1   QUIN DENVIR, Bar No. 49374
     ROTHSCHILD WISHEK & SANDS LLP
 2   901 F Street, Suite 200
     Sacramento, CA 95814
 3   (916) 444-9845
 4   Attorneys for Defendant
     N. Allen Sawyer
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 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,              )
                                            )
13                                          ) No. 2:02-cr-0468 MCE
                 Plaintiff,                 )
14        v.                                )
                                            ) STIPULATION AND ORDER
15   N. ALLEN SAWYER,                       )
                                            )
16                                          )
                 Defendant.                 )
17                                          )
18
                 Plaintiff United States, by its counsel Assistant
19
     United States Attorney Samantha Spangler, and defendant N. Allen
20
     Sawyer, by his counsel Quin Denvir, hereby stipulate and agree
21   that the defendant’s passport, which he surrendered while under
22   pre-trial supervision, should be returned to him immediately.
23                               Respectfully submitted,
24                               ROTHSCHILD, WISHEK & SANDS LLP
25

26
     Dated:    June 16, 2006     /s/ Quin Denvir
27                               QUIN DENVIR
                                 Attorneys for N. Allen Sawyer
28




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        Case 2:02-cr-00468-MCE-CMK Document 554 Filed 06/26/06 Page 2 of 2


 1   Dated:   June 16, 2006       McGREGOR SCOTT
                                  United States Attorney
 2

 3
                            By:   _______________________________
 4                                Samantha Spangler
                                  Assistant U. S. Attorney
 5

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 8                                   O R D E R
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10   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
11

12   Dated: June 26, 2006
13
                                    __________________________________
14                                  MORRISON C. ENGLAND, JR
                                    UNITED STATES DISTRICT JUDGE
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